Case 2:14-cv-11916-GCS-SDD ECF No. 152, PageID.5397 Filed 08/03/17 Page 1 of 10




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 NATALIE REESER,
                                          Case No. 2:14-cv-11916-GCS-MJH
             Plaintiff,                   Hon. George Caram Steeh

 v.

 HENRY FORD HEALTH
 SYSTEM,

             Defendant.

  MILLER COHEN, P.L.C.                   VARNUM LLP
  Keith D. Flynn (P74192)                Terrance J. Miglio (P30541)
  Adam C. Graham (P79361)                Barbara E. Buchanan (P55084)
  Attorneys for Plaintiff                Attorneys for Defendant
  600 W. Lafayette Blvd., 4th Floor      160 W. Fort, 5th Floor
  Detroit, MI 48226-0840                 Detroit, MI 48226
  (313) 964-4454                         (313) 481-7300


  PLAINTIFF’S REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                 FIRST SUPPLEMENTAL MOTION
     FOR ATTORNEYS’ FEES POST-JUDGMENT AND ON APPEAL
Case 2:14-cv-11916-GCS-SDD ECF No. 152, PageID.5398 Filed 08/03/17 Page 2 of 10




 I.    The Purpose of the WPA and the Facts and Procedural History of this
       Case Support an Award of Fees

       The Whistleblower Protection Act (“WPA”) provides a court with discretion

 to award “reasonable attorney fees.” MCL § 15.364. However, the WPA “is to be

 liberally construed to favor the persons the Legislature intended to benefit.”1 The

 purpose of the WPA and “concerns regarding access to courts and prevention of

 wrongful conduct . . . must be considered in making a determination regarding the

 award of attorney fees and costs under M.C.L. § 15.352.”2

       Defendant argues this case presents a situation where “denial is appropriate

 given the facts and procedural history.” Def.’s Resp. p. 3. The Sixth Circuit,

 however, found Defendant used motions in an “inappropriate fashion” and behaved

 in a “disingenuous” manner.3 Yet, Defendant believes denial is appropriate.

 II.   Plaintiff was Successful on Appeal and Should be Granted Supplemental
       Attorneys’ Fees by this Court


 1
   O'Neill v. Home IV Care, Inc., 249 Mich. App. 606, 614 (2002) (citing Chandler
 v. Dowell Schlumberger Inc., 456 Mich. 395, 406 (1998)). “[T]he WPA was enacted
 to remove barriers to an employee who seeks to report violations of the law, thereby
 protecting the integrity of the law and the public at large.” Id.
 2
   Id. (citing Hopkins v. City of Midland, 158 Mich.App. 361, 374 (1987)) (emphasis
 added).
 3
   Reeser v. Henry Ford Hosp., No. 16-2303, 2017 WL 2471265, at *4 (6th Cir. June
 8, 2017) (attached as Exhibit A). The Sixth Circuit noted the “overall antagonistic
 behavior” by Defendant’s attorney and found “Henry Ford’s counsel initiated much
 of the dilatory conduct.” Reeser at *5. The Sixth Circuit also noted “Reeser’s entire
 objective in filing this appeal was to be awarded more fees for . . . hours . . .
 accumulated in large part due to Henry Ford’s obstructionist tactics” and the “motion
 to strike certainly seems to support Reeser’s theory.” Id.

                                          1
Case 2:14-cv-11916-GCS-SDD ECF No. 152, PageID.5399 Filed 08/03/17 Page 3 of 10




        Defendant argues that grant of attorneys’ fees is inappropriate because

 Plaintiff was unsuccessful on appeal. Def.’s Resp. p. 3. This claim belies the

 judgment of the Sixth Circuit, which stated: “Her primary argument on appeal is that

 the district court did not follow the correct process required by Michigan law when

 it calculated this fee. We agree.” Reeser at *1 (emphasis added).4 Plaintiff was

 successful at trial and on appeal, therefore, it is appropriate to award fees.5

 III.   Caselaw Defendant Cites for the Proposition that Plaintiff is Not Entitled
        to Fees for Fees Has Nothing to Do With Fees Under the WPA

        As Plaintiff discussed in her brief, the Michigan Court of Appeals has found

 that it is proper to award appellate attorney fees under Michigan’s Civil Rights Act,

 M.C.L. § 37.2802.6 The Court of Appeals has also held that “case law interpreting

 MCL 37.2802 . . . is applicable to . . . [the WPA].”78


 4
   Later, the Sixth Circuit determined that “[b]ecause the district court . . . abused its
 discretion in calculating Reeser’s $10,000 fee award.” Id. at *3.
 5
   In Spellan v. Bd. of Educ. for Dist. 111, 69 F.3d 828, 829 (7th Cir. 1995), the only
 case cited by the Defendant on this issue, the Circuit Court found that it was
 unwilling to rule on a Supplemental Motion for Fees before the District Court made
 a determination on the initial fee request. Here, Plaintiff is not requesting fees from
 the Circuit Court, but from the District Court. A ruling is timely.
 6
   Schellenberg v. Rochester Michigan Lodge No. 2225, of Benev. & Protective Order
 of Elks of U.S.A., 228 Mich. App. 20, 56 (1998) (finding it proper to award appellate
 attorney fees under the CRA.
 7
   Gomery v. Crest Fin., Inc., No. 250881, 2005 WL 658818, at *1 (Mich. Ct. App.
 Mar. 22, 2005) (attached as Exhibit B).
 8
   The cases cited by Defendant are not CRA cases or WPA cases. Tinman v. Blue
 Cross Blue Shield, Docket No. 322601, 2015 WL 5657544 (Mich. Ct. App. Sept.
 24, 2015) (attached as Exhibit C) and Haliw v. City of Sterling Heights, 471 Mich
 700 (2005). Tinman involved a case where the Plaintiff sought money damages for

                                            2
Case 2:14-cv-11916-GCS-SDD ECF No. 152, PageID.5400 Filed 08/03/17 Page 4 of 10




 IV.   Defendant’s Claim That Plaintiff’s Fees Are Unreasonable Is Meritless

       In making a determination about the reasonableness of attorney fees, the Court

 must first determine a reasonable hourly rate and a reasonable number of hours.

 Reeser v. Henry Ford Hosp., No. 16-2303, 2017 WL 2471265, at *3 (6th Cir. June

 8, 2017). This Court previously stated it “recognizes plaintiff’s attorneys’ experience

 and professional reputation” and rightly did not reduce the rate for this reason.910

       While Plaintiff acknowledges that many hours were spent on this litigation,

 much of this time was spent as a result of Defendant’s use of “disingenuous” motions

 filed in an “inappropriate fashion”, “dilatory conduct”, and “overall antagonistic

 behavior.” Reeser, 2017 WL 2471265, at *4-5. Plaintiff should not have her hours

 reduced due to Defendant’s bad conduct below and on appeal.

 VI.   Defendant’s Objections to Plaintiff’s Attorneys’ Time Entries Are
       Disingenuous and Without Explanation

 Defendant’s failure to pay hospital emergency bills. See Tinman. Haliw was a slip
 and fall case. See Haliw. Defendant’s position that the WPA is more like a slip and
 fall case than the CRA is disingenuous and runs contrary to the ruling in Gomery.
 9
   Opinion and Order Granting in Part Plaintiff’s Motion (Dkt. #129).
 10
    Plaintiff also presented evidence of her attorneys’ experience and reputation in
 Plaintiff’s Supplemental Motion. Defendant cites Reeder v. County of Wayne, Case
 No. 15-cv-10177, 2016 WL 6524144 (E.D. Mich. Nov. 3, 2016) (attached as Exhibit
 D) for the proposition that Plaintiff’s attorney Keith Flynn should be compensated
 at $225 an hour and Plaintiff’s attorney Adam Graham should be compensated at
 $175 an hour. Reeder involved the award of fees under the Family and Medical
 Leave Act, a federal statute, not the WPA. Mr. Flynn has also gained experience
 since Reeder was decided more than eight months ago.
        Mr. Graham was not counsel on Reeder. However, according to the State Bar
 of Michigan’s publication “2014 Economics of Law Practice Attorney Income and
 Billing Rate Summary Report,” both requested rates are reasonable (Exhibit E).

                                           3
Case 2:14-cv-11916-GCS-SDD ECF No. 152, PageID.5401 Filed 08/03/17 Page 5 of 10




       A.     Plaintiff’s Fees Are Not Excessive or Redundant

       Defendant’s counsel may suggest instances in which the time expended seems

 long, but “such anecdotal observation is not persuasive and does not overcome the

 deference that should be given to an attorney . . . claiming to have put in the number

 of hours listed in the billing statement.”1112

       B.     Block Billed Entries Are Permitted in the Sixth Circuit

       The Sixth Circuit has long held so long as the description of work is adequate,

 block-billing is sufficient.13 It is not appropriate to deny fees for this reason.14

       C.     Plaintiff’s Time Entries Are Not Vague

       Counsel “is not required to record in great detail how every minute of his [or


 11
    Harvard Drug Grp., LLC v. Linehan, 2010 WL 3906094, at *11 (E.D. Mich. Sept.
 3, 2010) (attached as Exhibit F).
 12
    Defendant takes issue with Plaintiff’s time defending Defendant’s Motions - the
 same Motions the Sixth Circuit found were “inappropriate”, “disingenuous”,
 “dilatory”, and “antagonistic.” Reeser, 2017 WL 2471265, at *4-5. Defendant’s
 counsel was nearly sanctioned – it would be a boon to Defendant to deny fees.
        It is unclear why Defendant believes it was inappropriate for Plaintiff’s
 counsel to spend 39.65 hours drafting the successful appeal brief. Defendant offers
 no evidence that this is an excessive amount of time for an appellate brief.
        Defendant faults Plaintiff’s counsel for preparing for oral argument before the
 Sixth Circuit before it cancelled the hearing, however the reason is unclear. Is six
 hours too long to prepare for oral argument? Defendant does not explain.
        Defendant also suggests that the court should strike the approximately 8 times
 Mr. Flynn and Mr. Graham spoke about the appeal over the course of six months. It
 is unclear why meeting once or twice a month is excessive.
 13
    See Pittsburgh & Conneaut Dock Co. v. Dir., Office of Workers' Comp. Programs,
 473 F.3d 253, 273 (6th Cir. 2007). “[T]he Sixth Circuit has never explicitly rejected
 the practice of block billing.” See Reply Brief, Dkt. 125, for additional authorities.
 14
    See Plaintiff’s Reply to her Motion for Fees, page 18 (attached as Exhibit G).

                                             4
Case 2:14-cv-11916-GCS-SDD ECF No. 152, PageID.5402 Filed 08/03/17 Page 6 of 10




 her] time was expended,” so long as Plaintiff “identif[ies] the general subject matter

 of [ ] time expenditures.” Hensley v. Eckerhart, 461 U.S. 424, 437 n. 12 (1983).15

 VII. As Discussed in Plaintiff’s Supplemental Motion, the Factors
      Enumerated in Pirgu Support No Downward Reduction

       After determining a lodestar, the Court must consider the eight (8) factors

 enumerated in Michigan Rule of Professional Conduct 1.5 and Wood v. Detroit Auto.

 Inter-Ins. Exch., 321 N.W. 2d 653 (Mich. 1982). Reeser, 2017 WL 2471265, at *3

 (citing Pirgu v. United Services Automobile Ass'n, 499 Mich. 269 (2016)).

       A.     The Experience of the Attorneys and the Difficulty of the Case

       Plaintiffs’ attorneys have 6 and 3 years of experience, respectively.16

       This case was made difficult through the “obstructionist tactics” of

 Defendant’s counsel. Reeser, 2017 WL 2471265, at *5.17 Therefore, the factors

 support the award of fees requested or an upward addition.

 B.    The Amount in Question and the Expenses Incurred

       It is “incorrect” to assume “there is any particular significance to the



 15
    Defendant suggests entries such as “Research for motion response” and “spoke
 with client re: mediation” are vague, but what is vague about discussing mediation
 with Ms. Reeser. Greater detail would destroy attorney client privilege. Plaintiff’s
 Reply to her initial Motion for Fees can provide context. See Exhibit G, p. 18.
 16
    The rate requested by Mr. Flynn is below the 75th percentile hourly rate for an
 attorney with 6 years of practice. (Exhibit E, p. 4). The rate requested by Mr. Graham
 is at the 75th percentile for attorneys with 3 years of practice. Both attorneys have
 practiced nearly exclusively within the field of employment law their entire careers.
 17
    Defendant’s counsel was nearly sanctioned by the Sixth Circuit for conduct. Id.

                                           5
Case 2:14-cv-11916-GCS-SDD ECF No. 152, PageID.5403 Filed 08/03/17 Page 7 of 10




 relationship between the magnitude of actual damages and the magnitude of

 attorneys’ fees.”18 In Joyce, the First Circuit acknowledged that “[f]ee-shifting

 provisions in general reflect a legislative judgment that the public as a whole has an

 interest in the vindication of the rights conferred by the statutes . . . over and above

 the value of a . . . remedy to a particular plaintiff.” Joyce at 31 (quoting City of

 Riverside v. Rivera, 477 U.S. 561, 574 (1986)).19

       Defendant does not raise the issue of any attempted settlement on appeal and,

 despite numerous requests, the offer made occurred only after years of litigation. No

 offer ever included an agreement to pay fees. The amount awarded in attorneys’ fees

 ($10,000), costs ($5,237.90), and the judgment ($3,200), is already nearly double

 the largest offer made by Defendant ($10,000).20


 18
    Cheng v. Romo, 2014 WL 882796, at *2 (D. Mass. Mar. 6, 2014) (attached as
 Exhibit H) (citing Joyce v. Town of Dennis, 720 F.3d 12, 31 (1st Cir.2013)).
 19
    Defendant relies on Hensley v. Eckerhart, 461 U.S. 424, 436 (1983), a case which
 says nothing about the appropriateness of a reduction of an award based on the
 amount of the judgment. There, the Court reduced the award because Plaintiff
 “prevailed on only one of their six general claims.” Here, Plaintiff prevailed on one
 of the two claims she advanced and both involved the same set of operative facts.
 Crown Enterprises Inc. v. City of Romulus, No. 286525, 2011 WL 1687625, at *3
 (Mich. Ct. App. May 3, 2011) (attached as Exhibit I), makes clear that the question
 on this issue is not if plaintiff has achieved a certain level of success, but if “the
 plaintiff succeeded on ‘any significant issue in litigation which achieve[d] some of
 the benefit the parties sought in bringing suit.’” (emphasis added). Plaintiff achieved
 success on a significant issue, a finding of liability against Henry Ford.
 20
    With regard to the expenses incurred, Defendant offers an argument contrary to
 that in the brief submitted to the Sixth Circuit in Response to the Court’s Order to
 Show Cause. (Exhibit J). There, Defendant’s counsel acknowledges his “advocacy .
 . . pushed acceptable boundaries beyond the views of propriety . . . and . . . offers

                                            6
Case 2:14-cv-11916-GCS-SDD ECF No. 152, PageID.5404 Filed 08/03/17 Page 8 of 10




 C.    Relationship, Other Employment, Time Limitations, and Fee

       A court must consider the length of time that attorneys have worked with a

 client and whether the time spent precluded work. This case was filed more than 3

 years ago. Plaintiffs’ attorneys spent a significant time developing a relationship

 with Ms. Reeser and were unable to represent clients due to the time required.

       It is important to “ensure[] that attorneys working on a contingent fee basis

 are compensated sufficiently to ensure the incentive to take third-party actions on

 such a fee basis is protected.” See Kroll v. Hyster Co., 398 Mich. 281, 295 (1976).21

 For this reason, it is appropriate to grant the fees requested or increase the award.

                                    CONCLUSION

       WHEREFORE, and for the reasons stated above, Plaintiff respectfully

 requests that the Court award Plaintiff $45,260.00 in attorneys’ fees.

                                          Respectfully submitted,
                                          MILLER COHEN, P.L.C.

                                     By: /s/Adam C. Graham
                                         Keith D. Flynn (P74192)
                                         Adam C. Graham (P79361)
                                         Attorneys for Plaintiff
 Dated: August 3, 2017


 this short Brief, not just as an apology to the Court, as well as to Plaintiff and to her
 attorneys” Id., p. 1-2. Now, counsel argues “[w]hile Plaintiff claims . . . the
 exorbitant expenses are a result of Defendant . . . such a claim belies the observations
 of the Sixth Circuit . . .” Def.’s Resp., p. 23. These statements are contradictory.
 21
    Under the WPA, an attorney must decide within 90 days of a client’s termination
 whether to file suit, when aware of only 3 months of lost wages.

                                            7
Case 2:14-cv-11916-GCS-SDD ECF No. 152, PageID.5405 Filed 08/03/17 Page 9 of 10




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 NATALIE REESER,
                                                Case No. 2:14-cv-11916-GCS-MJH
              Plaintiff,                        Hon. George Caram Steeh

 v.

 HENRY FORD HEALTH
 SYSTEM,

              Defendant.

  MILLER COHEN, P.L.C.                         VARNUM LLP
  Keith D. Flynn (P74192)                      Terrance J. Miglio (P30541)
  Adam C. Graham (P79361)                      Barbara E. Buchanan (P55084)
  Attorneys for Plaintiff                      Attorneys for Defendant
  600 W. Lafayette Blvd., 4th Floor            160 W. Fort, 5th Floor
  Detroit, MI 48226-0840                       Detroit, MI 48226
  (313) 964-4454                               (313) 481-7300


                           CERTIFICATE OF SERVICE

       I hereby certify that on August 3, 2017, the foregoing document (PLAINTIFF’S

 REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFF’S FIRST SUPPLEMENTAL

 MOTION FOR ATTORNEYS’ FEES POST-JUDGMENT AND ON APPEAL) was

 electronically filed by the undersigned’s authorized representative, using the ECF

 system, which will send notification of such filing to all parties of record.
Case 2:14-cv-11916-GCS-SDD ECF No. 152, PageID.5406 Filed 08/03/17 Page 10 of 10




                                     Respectfully submitted,
                                     MILLER COHEN, P.L.C.

                                By: /s/Adam C. Graham
                                    Keith D. Flynn (P74192)
                                    Adam C. Graham (P79361)
                                    Attorneys for Plaintiff
                                    600 W. Lafayette Blvd., 4th Floor
                                    Detroit, Michigan 48226
                                    (313) 964-4454
  Dated: August 3, 2017




                                       2
